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  In re         Everlyn A. Davis                                                                                    Case No.       14-32996
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    FIRST TUSKEGEE BANK                                              -                          16.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        HOUSEHOLD GOODS                                                  -                    125,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        CLOTHING                                                         -                         100.00

7.    Furs and jewelry.                                       JEWELRY                                                          -                     15,000.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                          FIDELITY ANNUITY (HUSBAND PASSED - IN HIS                        -                           0.00
    issuer.                                                   NAME)




                                                                                                                               Sub-Total >        140,116.00
                                                                                                                   (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re         Everlyn A. Davis                                                                                    Case No.       14-32996
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         CAR ACCIDENT                                                     -                           0.00
    claims of every nature, including                         SHELDON EZEKIEL 770-418-4316
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.                      WELLS FARGO LAWSUIT                                              -                     15,000.00
    Give estimated value of each.                             (TOOK MONEY FROM BANK ACCOUNT


                                                                                                                               Sub-Total >          15,000.00
                                                                                                                   (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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  In re         Everlyn A. Davis                                                                                    Case No.       14-32996
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption
                                                              EVERLYN DAVIS V. PIGGLY WIGGLY, ET.AL                            -             Unknown by Debtor
                                                              REPRESENTED BY TED L. MANN, MANN & POTTER,
                                                              P.C., 600 UNIVERSITY PARK PLACE, STE. 250,
                                                              BIRMINGHAM, AL 35209
                                                              205-879-9661

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        98 GMC TRUCK SIERRA                                              -                       7,500.00
    other vehicles and accessories.                           3,900 -185,000 MILES

                                                              2007 NISSAN (WRECKED)                                            -                         500.00

                                                              1998 BUICK                                                       -                       4,500.00

                                                              1998 2500 CHEVROLET                                              -                       4,000.00

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.



                                                                                                                               Sub-Total >          16,500.00
                                                                                                                   (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Everlyn A. Davis                                                                Case No.       14-32996
                                                                                   ,
                                                                  Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                         (Continuation Sheet)

                                              N                                                       Husband,        Current Value of
               Type of Property               O        Description and Location of Property            Wife,     Debtor's Interest in Property,
                                              N                                                        Joint, or   without Deducting any
                                              E                                                      Community Secured Claim or Exemption

33. Farming equipment and                     X
    implements.

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind       X
    not already listed. Itemize.




                                                                                                          Sub-Total >                0.00
                                                                                              (Total of this page)
                                                                                                               Total >       171,616.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                      (Report also on Summary of Schedules)
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   In re         Everlyn A. Davis                                                                                      Case No.           14-32996
                                                                                                           ,
                                                                                        Debtor

                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
MACON COUNTY PROPERTY ASSESSMENT                                          Ala. Code §§ 6-10-2, 6-10-3, 6-10-4;                             0.00                     52,040.00
RECORD                                                                    Const. Art. X, § 205

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
FIRST TUSKEGEE BANK                                     Ala. Code § 6-10-6                                                               16.00                            16.00

Household Goods and Furnishings
HOUSEHOLD GOODS                                                           Ala. Code § 6-10-6                                               0.00                   125,000.00

Wearing Apparel
CLOTHING                                                                  Ala. Code § 6-10-6                                                 0%                         100.00

Furs and Jewelry
JEWELRY                                                                   Ala. Code §§ 6-10-6, 6-10-126                                  100%                       15,000.00

Annuities
FIDELITY ANNUITY (HUSBAND PASSED - IN HIS                                 Ala. Code § 6-10-6                                               0.00                             0.00
NAME)

Other Contingent and Unliquidated Claims of Every Nature
CAR ACCIDENT                                         Ala. Code § 6-10-6                                                                    0.00                             0.00
SHELDON EZEKIEL 770-418-4316

WELLS FARGO LAWSUIT                                                       Ala. Code § 6-10-6                                               0.00                     15,000.00
(TOOK MONEY FROM BANK ACCOUNT

EVERLYN DAVIS V. PIGGLY WIGGLY, ET.AL                                     Ala. Code § 6-10-6                                               0.00        Unknown by Debtor
REPRESENTED BY TED L. MANN, MANN &
POTTER, P.C., 600 UNIVERSITY PARK PLACE,
STE. 250, BIRMINGHAM, AL 35209
205-879-9661

Automobiles, Trucks, Trailers, and Other Vehicles
98 GMC TRUCK SIERRA                                                       Ala. Code § 6-10-6                                         2,984.00                         7,500.00
3,900 -185,000 MILES

2007 NISSAN (WRECKED)                                                     Ala. Code § 6-10-6                                               0.00                         500.00

1998 BUICK                                                                Ala. Code § 6-10-6                                               0.00                       4,500.00

1998 2500 CHEVROLET                                                       Ala. Code § 6-10-6                                               0.00                       4,000.00




                                                                                                           Total:                  18,000.00                       223,656.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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